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               IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN

 ARLEEN KOSAK,                 )
 individually and on behalf of all others
                               )
 similarly situated,           )
                        Plaintiff,
                               )            Case No. 2:22-cv-11850-MFL-EAS
                               )
     vs.                       )            Hon. Matthew F. Leitman
                               )
 NEW YORK MEDIA HOLDINGS, LLC, )            ORAL ARGUMENT
                Defendant.     )            REQUESTED
                               )
                               )

          DEFENDANT NEW YORK MEDIA HOLDINGS, LLC’S
           OPPOSITION TO PLAINTIFF’S LEAVE TO AMEND
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                   STATEMENT OF ISSUES PRESENTED

1.    Whether this Court should permit Plaintiff to amend her complaint a second
      time when the identity of the correct defendant was readily available to
      Plaintiff when she filed her original complaint, and where such an amendment
      would be futile because: (i) Plaintiff filed her original Complaint after the six-
      year limitations period she herself deems applicable had expired; and also (ii)
      has not adequately pled her proposed Second Amended Complaint, which is
      virtually identical to a complaint recently dismissed with prejudice by Judge
      Stephen Murphy III. Nashel v. The New York Times Company, No. 2:22-cv-
      10633-SJM-DRG, 2022 WL 6775657 (E.D. Mich. October 11, 2022).

      Defendant’s Answer: No.




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 STATEMENT OF CONTROLLING/MOST APPROPRIATE AUTHORITY

   The controlling authority for this Motion includes:


   1. Federal Rule of Civil Procedure 12(b)(6).

   2. Michigan Preservation of Personal Privacy Act, M.C.L. §§ 445.1711-
      445.1715 (1989) (amended eff. July 31, 2016).

   3. Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007).

   4. Ashcroft v. Iqbal, 556 U.S. 662 (2009).

   5. Nashel v. The New York Times Company, No. 2:22-cv-10633-SJM-DRG,
      2022 WL 6775657 (E.D. Mich. October 11, 2022).

   6. Russell v. GTE Government Systems Corp., 141 F. App’x 429 (6th Cir. 2005).

   7. Riverview Health Institute LLC v. Medical Mutual of Ohio, 601 F.3d 505 (6th
      Cir. 2010).




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                                  INTRODUCTION

         Plaintiff Arleen Kosak seeks to amend her Complaint a second time, now

 naming New York Media, LLC (“NYM”) as the Defendant. In the prior iterations of

 the Complaint, Plaintiff twice named a holding company as the Defendant. Her

 lawyers have brought nearly 100 similar actions against different publishers.1 They

 know full well that a holding company is not a publisher and is thus not an

 appropriate defendant under the Preservation of Personal Privacy Act, M.C.L. §

 445.1711, et seq. (the “PPPA”). Moreover, while they claim in Plaintiff’s brief that

 they undertook “exhaustive research” to figure out what entity published New York

 magazine in 2016, that information was and is readily available on the Internet, even

 on New York magazine’s Wikipedia page.2 Their supposed claim of exhaustive

 research, unsupported by a sworn declaration, should not be credited.

         Plaintiff’s lack of meticulousness is reflected not only in the fact that she

 named the wrong defendant twice despite public information telling her who

 published New York magazine in 2016, but also by the timing and contents of her

 pleading. The Court should deny Plaintiff’s motion for leave to amend because

 amendment would be futile.


 1
     See Exhibit A hereto.
 2
     https://en.wikipedia.org/wiki/New_York_(magazine).




                                           1
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        First, Plaintiff’s original Complaint (and thus her proposed Second Amended

 Complaint (“SAC”)) was untimely. Plaintiff alleges that NYM wrongfully disclosed

 her “Private Reading Information” during some undefined period in 2016, in

 violation of the pre-July 31, 2016 version of the PPPA. Plaintiff’s original Complaint

 was filed too late. Plaintiff alleges that a six-year limitation period applies to PPPA

 claims. Under Plaintiff’s claimed limitations period, the last day to file a claim for a

 violation of the pre-July 31, 2016 version of the PPPA was July 30, 2022. (See ECF

 No. 6, AC ¶ 1 n. 2; ECF No. 17-1, Proposed SAC, ¶ 1 n. 2.) But Plaintiff filed her

 original Complaint on August 10, 2022—11 days too late. (See ECF No. 1,

 Complaint.) Plaintiff will no doubt argue that she should be entitled to “COVID

 tolling.” That argument is predicated on certain of Governor Gretchen Whitmer’s

 Executive Orders and the Michigan Supreme Court’s Administrative Orders

 implemented in response to the COVID-19 pandemic (the “COVID-19 Orders”).

 But the state’s COVID-19 Orders simply are not applicable here by their very terms,

 and also because, as procedural orders, they have no bearing on this federal action.

        Second, amendment is also futile because Plaintiff’s proposed SAC remains

 inadequately pled, as it consists of nothing more than vague and conclusory allegations,

 pled for the most part on information and belief, that fail to state a claim for a violation

 of the PPPA. Subject to certain exceptions, the PPPA prohibits disclosures of

 “information concerning the purchase” of written materials by a customer “that



                                              2
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 indicates the identity of the customer.” M.C.L. § 445.1712 (1989). But the proposed

 SAC contains no specific allegations of the actual disclosure of any customer’s

 information, let alone Plaintiff’s information. Significantly, in a substantially similar

 case in this District, Judge Stephen J. Murphy, III recently dismissed a PPPA action

 with prejudice for failing to adequately plead disclosure, even when the allegations

 supporting disclosure were more detailed than here. See Nashel v. The New York Times

 Company, No. 2:22-cv-10633, 2022 WL 6775657 (E.D. Mich. Oct. 11, 2022).

       Accordingly, NYM respectfully requests that the Court deny Plaintiff’s

 motion for leave to further amend her Complaint.

                              STATEMENT OF FACTS

 I.    The Michigan PPPA.

       The PPPA was passed in the wake of a federal statute, the “Video Privacy

 Protection Act,” which was enacted following the disclosure of Supreme Court

 nominee Judge Robert Bork’s video rental choices in a newspaper. (See AC, ECF 6,

 Ex. B at PageID.567.) However, Michigan’s law went further than the federal Act.

 In addition to video rental records, its scope includes “books or other written

 materials,” proscribing certain “disclosures” of records or information “concerning

 the purchase, lease, rental, or borrowing of those materials.” M.C.L. § 445.1712

 (1989). But the PPPA applies only to persons or entities who are “engaged in the




                                            3
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 business of selling at retail, renting, or lending” such materials.        M.C.L. §

 445.1712(1) (1989).

       The Michigan statute sat on the books largely dormant for nearly 30 years

 until plaintiffs’ counsel started bringing a series of class actions against magazine

 publishers over “direct marketing” mailing practices. The allure of class actions

 under the PPPA was a statutory damages provision that permitted an action for actual

 damages or $5,000 in statutory damages, whichever was greater. M.C.L. § 445.1715

 (1989). Not surprisingly, the prior PPPA class action suits (filed against publishers

 by the same plaintiffs’ lawyers here, in or around 2013-2015) elected to pursue the

 statutory damages of $5,000 per subscriber in lieu of seeking actual damages,

 threatening in terrorem class action damages.

       In view of these potentially crippling class action lawsuits, the Michigan

 Legislature amended the PPPA in 2016 (the “2016 Amendment”).3 Among other

 things, the 2016 Amendment expressly removed the provision for $5,000 statutory

 damages and, in its place, provided only for actual damages. See MCL § 445.1715(2)

 (2016). The 2016 Amendment took effect July 31, 2016. Thus, July 30, 2016, was

 the last day the $5,000 statutory damages provision was in place.4


 3
   S.B. 490, 98th Leg., Reg. Sess., P.A. No. 92 (codified at M.C.L. § 445.1711, et
 seq. (2016)).
 4
  The Sixth Circuit ruled that the 2016 Amendment applies only prospectively.
 Coulter-Owens v. Time Inc., 695 Fed. App’x 117, 121 (6th Cir. 2017).


                                          4
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 II.   Plaintiff’s Untimely Claims.

       Plaintiff filed her original Complaint on August 10, 2022—11 days after the

 expiration of the six-year limitations period that she contends is applicable. (See ECF

 1.) Her original Complaint named New York Media Holdings Corp. as the

 Defendant. (See id. at PageID.1.) There is no record of service of the original

 Complaint on the docket. Instead, Plaintiff amended her Complaint nearly three

 months later, on November 2, 2022, and then served it via email on another holding

 company’s, New York Media Holdings, LLC’s, statutory agent in Delaware via

 email on November 4, 2022.5 (ECF 9, Service of Summons, at PageID.1070; ECF

 No. 16-2, Jones Dec., ¶ 7.)

       On February 2, 2023, almost six months after filing her original Complaint,

 Plaintiff sought leave to amend to name NYM as the Defendant. (ECF. No. 17.)

III.   Plaintiff Makes Conclusory Allegations Of PPPA Violations.

       Just as in the other two versions of her Complaint, in her proposed SAC,

 Plaintiff’s allegations are made on “information and belief, except as to allegations

 specifically pertaining to herself and her counsel, which are based on personal




 5
   Plaintiff alleges that her First Amended Complaint (”FAC”) relates back to the
 filing of her original Complaint under Rule 15. (ECF No. 17-1 ¶ 1, n.1). However,
 she ignores the fact that her original Complaint was filed too late.



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 knowledge.” (ECF No. 17-1, Preamble.) Plaintiff broadly and baldly claims NYM6

 “rented, exchanged, and/or otherwise disclosed detailed information” about its

 customers’ “Private Reading Information,”—i.e., names, home addresses, and the

 “titles of publications subscribed to”—to third parties without consent or notice, and

 that such alleged disclosures violated the PPPA. (See e.g., id. ¶¶ 1, 5.)

       Plaintiff offers no facts whatsoever to support her sweeping allegations that

 NYM disclosed identifying information about any customer—much less the

 Plaintiff—at any time, let alone some undefined time in 2016. Although Plaintiff

 alleges she has “[d]ocumented evidence” that NYM “rented, exchanged, and/or

 otherwise disclosed” her Private Reading Information prior to July 31, 2016 (id. ¶ 1,

 2), that “evidence” is a recent third-party data card from NextMark, Inc.

 (“NextMark”) dated April 28, 2022, which says nothing about 2016. (Id. ¶ 2, Ex.

 A.) Tellingly, there is no allegation tying anything on the third-party data card to any

 disclosure by NYM.

       Plaintiff seeks to represent a class of all Michigan residents who allegedly had

 their PRI disclosed to third parties by NYM without their consent during an

 undefined “relevant time period” in 2016. (Id. ¶ 49.) She explicitly brings her claims




 6
   The substantive allegations against NYM in the proposed SAC have not changed
 from those asserted against NYMH in the FAC.


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 under the prior version of the PPPA in order to seek $5,000 in statutory damages per

 subscriber. (See id. ¶ 1, n.2.)

                                   ARGUMENT

 I.    Courts Deny Amendments Because Of Futility.

       While leave to amend is generally freely granted, leave should be denied,

 where, as here, an amendment would be futile. See Riverview Health Inst. LLC v.

 Med. Mut. of Ohio, 601 F.3d 505, 520 (6th Cir. 2010) (amendment should be denied

 when futile).

       An amendment is futile when the suit, as originally filed, was untimely. See,

 e.g., Russell v. GTE Gov’t Sys. Corp., 141 F. App’x 429, 437 (6th Cir. 2005)

 (determining that amendment was futile when original claims were untimely). Such

 is the case here. Amendment is also futile where, as here, an amended complaint

 could not withstand dismissal on Rule 12(b)(6) pleading grounds. Riverview Health

 Inst. LLC, 601 F.3d at 512 (finding that “[a] proposed amendment is futile if the

 amendment could not withstand a Rule 12(b)(6) motion to dismiss”) (quotations and

 citations omitted).7


 7
  Plaintiff argues that prejudice is absolutely required to deny a motion for leave to
 amend, but that is not so. In Moore v. City of Paducah, 790 F.2d 557 (6th Cir. 1986),
 on which Plaintiff relies, the Sixth Circuit only required the defendant to
 demonstrate prejudice because that defendant argued delay as its sole grounds for
 denial of the motion to amend. That is not the case here, where, as discussed below,
 amendment would be futile.



                                          7
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 II.   Amendment Would Be Futile Because Plaintiff’s Claims Are Untimely,
       And Her Time To File Was Not Tolled.

       This action was filed on August 10, 2022—11 days after the expiration of the

 six-year limitation period Plaintiff claims applies here. (See ECF No. 17-1 ¶ 1 n. 2.)

 Even crediting Plaintiff’s contention that a six-year limitations period applies, the

 proposed SAC, as was true of the original Complaint and the FAC, is untimely.

       A.     The COVID-19 Orders are Inapplicable.

       Despite the facial untimeliness of her action, Plaintiff will argue that her case

 is timely because the limitations period was tolled for roughly 101 days based on the

 COVID-19 Orders. Like other PPPA plaintiffs filing suit after the July 30, 2022

 deadline—all of whom are represented by the same counsel as here—Plaintiff will

 likely assert that there are two potential sources of law for tolling: (a) Executive

 Orders 2020-58 and 2020-122 issued by the Governor of Michigan on April 22, 2020

 and June 12, 2020, respectively; and (b) Administrative Orders 2020-3, 2020-8, and

 2020-18, promulgated by the Michigan Supreme Court on March 23, 2020, May 1,

 2020, and June 12, 2020, respectively. But the COVID-19 Orders are inapplicable

 on two grounds: (1) they only apply to deadlines that fell in a narrow period of time

 in 2020, not applicable here; and (2) as procedural orders, they do not apply to

 federal actions.




                                           8
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              1.     The COVID-19 Orders Only Apply to 2020 Filing
                     Deadlines.
       The explicit intent of the COVID-19 Orders was “to extend all deadlines

 pertaining to case initiation and the filing of initial responsive pleadings in civil and

 probate matters during the state of emergency declared by the Governor related to

 COVID-19.” Mich. Sup. Ct., Administrative Order No. 2020-3 (March 23, 2020)

 (emphasis added); see also Executive Order No. 2020-58. When the Michigan

 Supreme Court and Governor Whitmer rescinded their initial COVID-19 Orders on

 June 12, 2020, the subsequent Orders providing for COVID-tolling periods

 contained the same tolling limitation: “all deadlines applicable to the

 commencement of all civil and probate actions and proceedings . . . are tolled from

 March 10, 2020 to June 19, 2020.”8 Executive Order No. 2020-122 (emphasis

 added); see also Mich. Sup. Ct., Administrative Order No. 2020-18 (June 12, 2020).

       Thus, the plain language of the COVID-19 Orders allow only for the tolling

 of deadlines that fall within the declared states of disaster and emergency, which

 spanned from March 10, 2020 to June 19, 2020. Id.; see also Wenkel v. Farm Bureau

 Gen. Ins. Co. of Michigan, No. 358526, 2022 WL 17364773, at *4 (Mich. Ct. App.

 Dec. 1, 2022) (the need to toll deadlines during the pandemic was as result of “the



 8
  Governor Whitmer’s first executive order was issued on March 10, 2020, which
 declared the state of emergency across the state of Michigan. Executive Order No.
 2020-4.


                                            9
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 reluctance of litigants and their attorneys to engage with the court” during the

 pandemic). Here, Plaintiff had no filing deadlines between March 10, 2020 and June

 19, 2020. Her deadline to file her claims fell over two years after the end of the

 COVID-19 tolling period. Moreover, Plaintiff’s counsel has been filing PPPA class

 actions for years and were not prevented from commencing this action before the

 July 30, 2022 deadline. The COVID-19 Orders simply do not apply to Plaintiff’s

 claim.

          One intermediate state court has held that COVID tolling applies beyond the

 narrow window of the 2020 deadlines. See Carter v. DTN Mgmt. Co., No. 360772,

 2023 WL 439760 (Mich. Ct. App. Jan. 26, 2023). But that case, an individual slip

 and fall case, was wrongly decided, and is not binding on this Court in any event.

 Horizon Lawn Maint., Inc. v. Columbus-Kenworth, Inc., 188 F. Supp. 3d 631, 635

 (E.D. Mich. 2016) (while intermediate state appellate court decisions may provide

 guidance on state law, “they are not binding on federal courts.”). Moreover, the

 Carter court’s ruling makes little sense. Under the logic of the Carter court, any

 plaintiff with a limitations period that expires after the close of Michigan’s state of

 emergency would still be entitled to 101 more days to file their complaint pursuant

 to the COVID-19 Orders. For example, under the Carter theory, if an individual

 breached a contract in Michigan on March 1, 2020—just prior to the declared state

 of emergency—the plaintiff would receive the benefit of an additional 101 days



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 beyond the close of the six-year statute of limitations on March 1, 2026 to file a

 claim, even though years have passed after the state of emergency was rescinded.

 The COVID-19 Orders must be interpreted in a way that avoids such an absurd

 result. See e.g., Donovan v. FirstCredit, Inc., 983 F.3d 246, 254 (6th Cir. 2020);

 People v. Tennyson, 790 N.W.2d 354, 361 (Mich. 2010).9

       Extending the enforcement of the pre-July 31, 2016 version of the PPPA

 through COVID tolling is not only nonsensical, it also subverts the Michigan

 Legislature’s decision to put an end to no-injury suits like this one that are brought

 solely to cash in on the $5,000 statutory penalty that no longer exists. For this reason,

 too, this Court should reject any COVID tolling theory.

              2.     The State COVID-19 Orders Are Inapplicable to Federal
                     Class Actions Under Carter.
       Even if the Court were to follow the logic of the Carter case, that case also

 holds that tolling is a procedural, not a substantive, matter. 2023 WL 439760, at *4

 (the Michigan Supreme Court’s administrative order “modifying the computation of

 days under MCR 1.108 for purposes of determining filing deadlines[] [was] plainly


 9
   The Carter court also rejected the notion that the COVID-19 Orders are
 unconstitutional. 2023 WL 439760 at *6. However, the court acknowledged that it
 did not necessarily have the power to decide the constitutionality of the COVID-19
 Orders. Id. The Carter court merely determined that because the COVID-19 Orders
 are procedural in nature, they are not unconstitutional. Id. NYMH (and NYM—if
 Plaintiff is allowed to file the SAC) reserves its right to argue that the COVID-19
 Orders are unconstitutional, among other reasons, because they violate the
 separation of powers doctrine.


                                            11
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 a procedural matter”). As such, the COVID-19 Orders would not apply to federal

 court actions, even when courts are sitting in diversity. See Barnes v. Sun Chem.

 Corp., 164 F. Supp. 3d 994, 999 (W.D. Mich. 2016) (“State rules of procedure,

 particularly those promulgated by a state supreme court, usually have no effect in

 federal courts because they do not embody a ‘substantial policy of the state;’ and

 even where a state statute is ‘procedural in nature,’ the Court will apply the federal

 procedural rule.”) (quoting First Bank of Marietta v. Hartford Underwriters Ins. Co.,

 307 F.3d 501 (6th Cir. 2002)) (emphasis in original).

       Federal procedural rules pertain to this action because Michigan does not

 permit plaintiffs to bring class actions for statutory damages in Michigan state court

 unless the statute explicitly authorizes a class, which the PPPA does not. MCR

 3.501(A)(5). To circumvent this prohibition, Plaintiff invoked federal jurisdiction

 through CAFA in all the iterations of her Complaint. (See, e.g., ECF No. 17-1 ¶ 11.)

 Rule 23 thus governs here by Plaintiff’s own choice. Through the Rules Enabling

 Act, 28 U.S.C. § 2072, Congress delegated its “power to prescribe general rules of

 practice and procedure” for cases in the federal courts to the Supreme Court. As the

 Supreme Court made clear in Hanna v. Plumer, 380 U.S. 460 (1965), “the Federal

 Rules have the status of ‘Acts of Congress’ through the grant of delegated

 lawmaking authority that Congress made to the Supreme Court in the [Rules

 Enabling Act].” Stephen B. Burbank & Tobias Barrington Wolff, Class Actions,



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 Statutes of Limitations and Repose, and Federal Common Law, 167 Penn. L. Rev.

 1, 35 (Dec. 2018) (citing 380 U.S. 460 (1965); 28 U.S.C. § 2072(a)). Rule 23 is thus

 an Act of Congress, and CAFA—which extends Rule 23 and the Court’s jurisdiction

 to this case—is itself an Act of Congress. Pub. L. No. 109-2, 199 Stat. 4.

       Accordingly, because this case is governed by the Federal Rules of Civil

 Procedure, state court procedures, such as those embodied in the COVID-19 Orders,

 do not apply.10 Notably, the Carter court also stated that the COVID-19 Orders

 stemmed from the Michigan Supreme Court’s “clear[] concern[] with limiting in

 person interactions and protecting court staff and the public from COVID-19” —

 concerns that do not apply in federal courts, given the e-filing system. See Carter,

 2023 WL 439760, at *4.

       Finally, the Carter decision says nothing about tolling as to absent class

 members. Under analogous tolling principles in the class action context, tolling is


 10
   Although other federal courts have applied the COVID-19 Orders, those cases are
 not instructive because those courts did not have the benefit of briefing on this issue,
 they are not PPPA or class action cases, and also pre-date Carter’s determination
 that the COVID-19 Orders are procedural in nature. See e.g., Bownes v. Borroughs
 Corp., No. 20-cv-964, 2021 WL 1921066, at *2 (W.D. Mich. May 13, 2021)
 (defendant’s motion to dismiss admitted the COVID-19 Orders applied but argued
 the orders only allowed for a “60-day grace period” not 101 days); Bowles v. Sabree,
 No. 20-cv-12838, 2022 WL 141666, at *9 (E.D. Mich. Jan. 14, 2022) (defendant
 failed to address the COVID tolling argument); Mackey v. Rising, No. 20-cv-13408,
 2021 WL 4034226, at *2 (E.D. Mich. Sept. 3, 2021) (relying on Second Circuit
 precedent that specifically related to 42 U.S.C. §1983 claims, the court determined
 that federal courts borrow state tolling orders for those specific claims).



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 only available to individual plaintiffs, not absent class members. China Agritech,

 Inc. v. Resh, 138 S. Ct. 1800, 1808 (2018) (holding an absent class member’s class

 claims “would not be preserved by the prior plaintiff’s timely filed class suit” and

 making clear that tolling for absent class member claims, rather than just individual

 claims, would allow “limitless” tolling); In re FCA US LLC Monostable Elec.

 Gearshift Litig., 446 F. Supp. 3d 218, 224 (E.D. Mich. 2020) (Lawson, J.) (holding

 that while tolling may apply to a class member’s individual claims, class tolling

 “cannot be applied to rescue untimely class claims”) (emphasis in original).

       For these reasons, COVID tolling should not apply and the motion for leave

 to amend should be denied because the action is untimely.11

       B.     The Three-Year Limitations Period Applies, Rendering Plaintiff's
              Claims Time-Barred Even if Tolling were Permitted.

       In any event, a three-year limitations applies here, so the case could not be

 saved by any theory of tolling. M.C.L. § 600.5805(2) provides that “the period of

 limitations is 3 years after the time of the death or injury for all actions to recover

 damages for the death of a person or for injury to a person or property.” Michigan

 courts consistently apply Section 600.5805(2)’s three-year statute of limitations to


 11
    If the Court allows the SAC to be filed based on COVID-tolling, only the named
 Plaintiff should be permitted to proceed and the class action allegations should be
 stricken. If the named Plaintiff is allowed to proceed, this Court should decline to
 exercise supplemental jurisdiction under 28 U.S.C. § 1367 because CAFA
 jurisdiction would no longer be met, and the case should be remanded to state court.
 See, e.g., Horton v. Dow Jones, 804 Fed. App’x 81, 85 (2d Cir. 2020).


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 common law privacy-based claims. See, e.g., Green v. Lansing Automakers Fed.

 Credit Union, No. 342373, 2019 WL 3812108, at *5 (Mich. Ct. App. Aug. 13, 2019)

 (three-year limitation period applied to invasion of privacy, unlawful intrusion

 claim); Derderian v. Genesys Health Care Sys., 689 N.W.2d 145, 159-60 (Mich. Ct.

 App. 2004) (three-year limitations period applied to invasion of privacy, false-light

 claim); Arent v. Hatch, 349 N.W.2d 536, 539 (Mich. Ct. App. 1984) (three-year

 limitations period applied to invasion of privacy claim).

       Nevertheless, Plaintiff will contend that a PPPA claim should be subject to

 the catch-all six-year limitations period in M.C.L. § 600.5813 because the PPPA

 does not contain an express limitations period.12 (ECF 17-1 ¶ 1 n.2.) But there are

 decades of Michigan cases that have applied the three-year limitations in Section

 600.5805(2) to statutory claims that, as here, allege injury to persons, even when the

 statute was otherwise silent on a limitations period. See e.g., Dabish v. McMahon,

 818 F. App’x 423, 427 (6th Cir. 2020) (three-year limitations period applies to

 claims brought under Michigan’s Ethnic Intimidation statute, M.C.L. § 750.147b, a


 12
   Although three judges in this District and one judge in the Western District of
 Michigan agree with Plaintiff’s position, holding the “catch all” six-year limitations
 period under M.C.L. § 600.5813 applies to PPPA claims, there has yet to be a Sixth
 Circuit or Michigan Supreme Court holding on the applicable limitations period for
 a PPPA claim. See Pratt v. KSE Sportsman Media, Inc., No. 1:21-cv-11404, 2022
 WL 469075 (E.D. Mich. Feb. 15, 2022) (Ludington, J.); Hall v. Farm Journal, Inc.,
 No. 2:21-cv-11811 (E.D. Mich. April 5, 2022) (Lawson, J.), ECF 26, slip op.;
 Krassick v. Archaeological Inst. of Am., No. 2:21-cv-180, 2022 WL 2071730 (W.D.
 Mich. June 9, 2022) (Jarbou, J.); Nashel, 2022 WL 6775657.


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 specific right not found in common law); Marks v. Hulstrom, No. 294453, 2010 WL

 2134303, at *1 (Mich. Ct. App. May 27, 2010) (applying Section 600.5805(2)’s

 limitations period to statutory nuisance claim under M.C.L. § 600.2940(1)); McCree

 v. Cont’l Mgmt., LLC, No. 351171, 2021 WL 1050115, at *7 (Mich. Ct. App. Mar.

 18, 2021) (holding that the three-year limitations period applies to the Housing Act

 of Michigan and Truth in Renting Act).

           Because a three-year limitations period properly applies to Plaintiff’s claims,

 her original Complaint, filed in 2022, was untimely, and amendment would thus be

 futile.

 III.      Amendment Would Be Futile Because Plaintiff Inadequately Pleads Her
           Second Amended Complaint.

           Even if she had timely sued the correct Defendant and her claims were not

 time-barred, Plaintiff’s claims would still fail because she has not alleged facially

 plausible facts to support her claims. See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

 A plaintiff’s “factual allegations, assumed to be true, must do more than create

 speculation or suspicion of a legally cognizable cause of action; they must show

 entitlement to relief.” League of United Latin Am. Citizens v. Bredesen, 500 F.3d

 523, 527 (6th Cir. 2007) (emphasis in original). Rule 8 “does not require ‘detailed

 factual allegations,’ but it demands more than an unadorned, the-defendant-

 unlawfully-harmed-me accusation.” Iqbal, 556 U.S. at 678 (quoting Bell Atl. Corp.

 v. Twombly, 550 U.S. 544, 555 (2007)). “[T]he Court will not presume the truth of



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 legal conclusions in the complaint.” Nashel, 2022 WL 6775657 at *2. Importantly,

 “a complaint containing a statement of facts that merely creates a suspicion of a

 legally cognizable right of action is insufficient.” Bishop v. Lucent Techs., Inc., 520

 F.3d 516, 520 (6th Cir. 2008) (emphasis in original).

       The proposed SAC is devoid of any actual facts supporting Plaintiff’s

 allegations that NYM unlawfully disclosed her PRI in violation of the PPPA. To

 plead a claim under the PPPA, a plaintiff must allege facts that, if proved, would

 show both that (i) the defendant disclosed the relevant information about the plaintiff

 without the plaintiff’s consent, and (ii) the information specifically identified the

 plaintiff to the party receiving that information. M.C.L. § 445.1712 (1989)

 (prohibiting disclosure “to any person, other than the customer, a record or

 information concerning the purchase . . . of [written] materials by a customer that

 indicates the identity of the customer”). In other words, Plaintiff must plead plausible

 facts demonstrating that, during some undefined time period in 2016, Defendant

 unlawfully disclosed her PRI—her full name, the specific title of the publication

 subscribed to, and her home address—to third parties. (ECF No. 17-1 ¶ 9.) But she

 has failed to adequately plead any such disclosure whatsoever.

       Plaintiff’s PPPA claims are broad and conclusory, cut and paste allegations,

 pled largely on information and belief, that NYM disclosed subscriber names and

 addresses to unnamed “data aggregators, data appenders, data cooperatives, and list



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 brokers . . . during the relevant pre-July 31, 2016 time period.” (Id. at ¶ 1.) She does

 not substantiate this barebones statement, and thus fails to provide sufficient facts

 from which this Court could draw a plausible inference that NYM violated her rights

 under the PPPA prior to pre-July 31, 2016. See Iqbal, 556 U.S. at 678; Nashel, 2022

 WL 6775657, at *4-6.

         In Nashel, a PPPA action filed by Plaintiff’s same counsel, Judge Murphy

 granted the defendant’s motion to dismiss for failure to plead a plausible claim under

 the PPPA. Id. Just as Plaintiff attempts to do here with her citation to a 2022 data

 card published by a third party, the Nashel plaintiffs supported the allegations in

 their complaint with third-party data cards from a different time period. Nashel, 2022

 WL 6775657, at *4 (submitting data cards from nearly a decade before the relevant

 2016 time period). The Nashel plaintiffs went even further and made allegations

 about the defendant’s privacy policy and cited a case study concerning the City of

 Virginia Beach’s rental of a list of defendant’s subscribers’ email addresses. Id. at

 *4-6.

         The Nashel court found that the “[p]laintiffs’ allegations, even in light of that

 evidence, fail to clear the plausibility threshold.” Nashel, 2022 WL 6775657, at *4.

 At best, Judge Murphy concluded that the plaintiffs’ supporting allegations—the

 third-party data cards, the defendant’s privacy policy, and the Virginia Beach case

 study—“create[d] only suspicion as to whether Defendant violated the PPPA during



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 the pre-July 31, 2016 period.” Id. “[A] complaint containing a statement of facts that

 merely creates a suspicion of a legally cognizable right of action is insufficient.” Id.

 (citing Bishop, 520 F.3d at 520). The plaintiffs did not appeal the Nashel decision.

       Plaintiff’s allegations here are weaker than in Nashel. The only piece of so-

 called “documented evidence” she relies upon is a 2022 third-party data card

 published by NextMark, similar to the one attached to the Nashel complaint. (ECF

 No. 17-1 ¶ 2, Ex. A.) Neither the timing nor the content of this data card supports

 her allegations that NYM violated the PPPA in the pre-July 31, 2016 time period.

 Indeed, Plaintiff’s allegations regarding the subscriber data that NextMark

 purportedly offers for sale makes it clear that the alleged information is that of

 current subscribers in 2022. It says nothing about data or information pertaining to

 subscribers prior to July 31, 2016. Just as in Nashel, because the data card Plaintiff

 relies upon is from an irrelevant time period, it does not create any plausible

 inference of disclosure in the relevant pre-July 31, 2016 time period. See 2022 WL

 6775657, at *4-6; Iqbal, 556 U.S. at 678. As in Nashel, Plaintiff’s allegations rely

 “on a legal-conclusion inference” that NYM systematically and continuously

 violated the PPPA from 2022 backwards to 2016. 2022 WL 6775657, at *5. But this

 Court cannot “presume the truth of legal conclusions,” and because “[Plaintiff]

 cannot otherwise account for the . . . time gap, the data cards make the complaint’s




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 allegations merely possible rather than plausible.” Id. (internal citation omitted)

 (emphasis in original).

       Furthermore, the content of this data card does not plausibly establish that

 NYM violated the PPPA. The data card provides no suggestion as to what

 information was allegedly disclosed through the mailing list. (ECF No. 17-1 ¶ 2;

 Ex. A.) The data card merely purports to advertise that certain information about

 subscribers to New York magazine is available, without specifying what that

 information is—a necessary prerequisite to establishing that her PRI, pursuant to

 Plaintiff’s own definition, was disclosed to anyone. (Id. ¶ 5.) Nor does the data card

 explain the source of any information about subscribers, meaning that there is no

 connection between the data card and any alleged conduct by NYM.

       Just as the Nashel court found, “nothing on the data card[] explains how

 [NextMark] received [NYM’s] subscription list” and it therefore “fail[s] to support

 a crucial element of [Plaintiff’s] alleged action: that [NYM] engaged in the business

 of selling written material to disclose information personally identifying the

 customer.” 2022 WL 6775657, at *5 (internal citation omitted). This is a “gaping

 omission” that requires a “large inferential leap” to connect NYM’s alleged conduct

 to the data cards, and Plaintiff fails to “create a reasonable inference of [NYM’s]

 culpability.” Id.




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       Finally, Plaintiff alleges she saw a “barrage of unwanted” junk mail during

 the undefined relevant timeframe. (ECF No. 17-1 ¶ 1.) But she does not specify any

 causal connection between her subscription to New York magazine and junk mail.

 See id. There could be numerous reasons for such junk mail, all unrelated to NYM.13

 This implausible allegation cannot support Plaintiff’s claims. See Iqbal, 556 U.S. at

 678; see also Nashel, 2022 WL 6775657 at *1 (plaintiffs made same “uptick in junk

 mail” arguments, which did not sway the court).

       Without factual allegations facially supporting the conclusion that NYM

 wrongfully disclosed Plaintiff’s personal information to a third party, Plaintiff has

 not pled a valid claim under the PPPA. The Sixth Circuit has consistently found that

 bare allegations of purported disclosures are insufficient in cases alleging illegal

 disclosures of private information. Fisher v. Perron, 30 F.4th 289, 397 (6th Cir.

 2022) (bare allegations of disclosure insufficient in case alleging disclosure of

 private information).

       Plaintiff’s allegations have not and cannot cross the “line between possibility

 and plausibility of ‘entitle[ment] to relief.’” Twombly, 550 U.S. at 557 (internal

 citation omitted).

       For these reasons, allowing Plaintiff to amend her Complaint would be futile.


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   See ECF No. 17-1 ¶¶ 25, 39 (describing a vast “information marketplace” where
 “data aggregators purchase, trade, and collect massive databases of information
 about consumers” from “numerous offline and online sources.”).


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IV.    Plaintiff Should Not Be Rewarded For Her Lack Of Diligence, Resulting
       In Undue Delay And Prejudice.

       Plaintiff relies on Linna v. Ticket Fulfillment Servs., LP, No. 20-CV-12200,

  2020 WL 13577562 (E.D. Mich. Nov. 5, 2020), to argue that because she is merely

  amending to change the defendant, her motion should be granted. But Linna is not

  analogous. Here, unlike Linna, the Plaintiff knew or should have known she had the

  wrong defendant because the PPPA only applies to publishers. M.C.L. § 445.1712

  (1989). See, e.g., Halaburda v. Bauer Pub. Co., LP, No. 12-CV-12831, 2013 WL

  4012827, at *7 (E.D. Mich. Aug. 6, 2013) (the statute requires that PPPA defendants

  “are in the business of publishing magazines [or other written materials], and sell

  them to the ultimate consumer of the products”). Publicly available information

  shows that NYMH, the defendant in the FAC, is a holding company that did not

  and currently does not produce or sell anything, including New York magazine—

  instead, it owns interests in various media companies.14 A simple Internet search

  would have shown Plaintiff that NYM published New York magazine. See, e.g.,

  https://en.wikipedia.org/wiki/New_York_(magazine);

  https://web.archive.org/web/20160703221651/http://nymag.com/.




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   See https://www.bloomberg.com/profile/company/279868Z:US#xj4y7vzkg (New
 York          Media       Holdings,        LLC),       compare        with
 https://www.bloomberg.com/profile/company/2901670Z:US#xj4y7vzkg      (New
 York Media, LLC).


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       Plaintiff here, unlike Linna, simply failed to exercise diligence. Moreover,

 Plaintiff did so knowing full well the looming outer limits for the statute of

 limitations under the pre-amendment PPPA. She should not be rewarded for that

 lack of diligence, which has resulted in a six-month delay of an already untimely

 lawsuit and which, if allowed to continue, will prejudice NYM in unnecessary

 expenditures of time and money, because, as discussed above, the SAC, like the FAC

 before it, is subject to dismissal on its face. See Poole v. Valley Indus., No. 05-CV-

 74163-DT, 2006 WL 2883126, at *6 (E.D. Mich. Oct. 6, 2006) (finding that an

 amendment that is a product of undue delay and will require the expenditure of more

 unnecessary time and money on motion practice or other briefing prejudices a

 defendant).

                                   CONCLUSION

       Accordingly, Plaintiff’s motion for leave to amend should be denied.

 Date: February 16, 2023                Respectfully submitted,


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                                 Certificate of Service

       I hereby certify that on February 16, 2023, a copy of the foregoing document

 was filed electronically and served by e-mail to all parties by operation of the Court’s

 electronic filing system or by mail to anyone unable to accept electronic filing as

 indicated on the Notice of Electronic Filing.

                                         /s/ Kristen C. Rodriguez
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